ProQuest® CongressiohbaAS@cema-Md-02179-CJB-DPC Document 6356-5 Filed 04/25/12 Page 1 of 5 5/18/11 3:05 pm

rhode | Maw Oo PP? b Site Mae

Congressional

4 Vehgrassione! Paghlice Pie

[ Nelo

Search Terms: S.1730, interim - Edit Search FOCUS™ Search _

Result List | Expanded List | KWIC | Full Document

|] Document 12 of 25. [i

Copyright 1996 FDCHeMedia, Inc. All Rights Reserved.
Federal Document Clearing House Congressional Testimony

June 4, 1996, Tuesday
SECTION: CAPITOL HILL HEARING TESTIMONY

LENGTH: 2725 words

HEADLINE: TESTIMONY June 04, 1996 RICHARD H. HOBBIE, II] PRESIDENT WATER QUALITY

INSURANCE SYNDICATE SENATE ENVIRONMENT OIL POLLUTION ACT REVISION

BODY:
STATEMENT OF

THE AMERICAN INSTITUTE OF MARINE UNDERWRITERS
AND

THE WATER QUALITY INSURANCE SYNDICATE

On S,1730, The Oil Spill Prevention

And Response Improvement Act

before

The United States Senate

Committee on Environment and Public Works
Presented by

Richard H. Hobbie, III ~ EXHIBIT _

President, Water Quality Insurance Syndicate

http: / Aweb.lexis—-nexis.com/congcomp/document?_m=5a44d819fecc8...=128wchp=dGLbytb-zSkSA& md5=bded6153703738cd7495679c9025d04b

“(Sol

Page lofts
June 4, 1996

STATEMENT OF THE AMERICAN INSTITUTE OF MARINE UNDERWRITERS AND
THE WATER QUALITY INSURANCE SYNDICATE BEFORE THE SENATE
ENVIRONMENT AND PUBLIC WORKS COMMITTEE

The American Institute of Marine Underwriters ("AIMU") is a non- profit trade association representing 100
marine insurers in the United States. AIMU members underwrite about 90% of the commercial marine
insurance done in the United States. The American Marine Insurance Industry has insured federal
statutory pollution liabilities for vessels for nearly a quarter of a century. I appear here today on behalf of
AIMU and the Water Quality Insurance Syndicate ("WQIS"), where I serve as President. We are honored
to have this opportunity to address the Committee on S.1730 and our experiences under the Oil Pollution
Act of 1990 ("OPA '90"), particularly with respect to the NORTH CAPE oil spill.

The Water Quality Insurance Syndicate was founded in 1971 by members of the domestic marine
insurance industry in order to provide a mechanism to insure liabilities under federal pollution statutes.
Today, WQIS is a pool of 17 marine insurers from the American market. WQIS insures liabilities imposed
on vessel owners and operators by OPA '90, as well as the Comprehensive Environmental Response,
Compensation and Liability Act ("CERCLA"). We insure liabilities arising from oil or hazardous substance
spills for over 39.000 vessels operating primarily in the inland and coastal waterways of the United
States. As the largest domestic insurer of such marine pollution liabilities, WQIS provides about one third
of the guarantees required for Certificates of Financial Responsibility issued by the Coast Guard under OPA
‘90 and under CERCLA. American marine insurers applaud the provisions in S. 1730 which would provide
incentives to owners of single-hull barges to convert to double-hulls. The bili would award statutory
incentives to encourage owners to replace single-hull vessels in their fleets with double-hull vessels. If the
owner replaced a double-hull vessel at least five years prior to its required replacement date, he will be
entitled to assert his OPA limit of liability even if a violation of an applicable federal safety, construction,
or operating regulations has occurred. We commend the authors of the bill on this incentive approach.
However, the incentives would be more effective if applied more broadly. The proposal does not address
the situation where an owner wishes to expand his fleet. If the incentives were to become law as drafted,
some owners might see an advantage to first buying single- hull barges which are scheduled to be
scrapped and then replacing them with doubie-hulls. Such maneuvering would not result in an early, net
reduction in the number of single hull vessels. As a practical matter, all new builds should be eligible for
these special incentives.

The domestic marine insurance market supports safety and prevention measures which will contribute to
the reduction in the severity and frequency of oil-spill incidents. As a practical matter, such measures
must be commercially sound and technologically feasible. Any other approach would simply add more
confusion to an already difficult situation. The requirement, proposed in S. 1730, that single-hull barges
over 5,000 gross tons operating in open ocean or coastal waters have a crew member on board and an
operable anchor is not a workable solution, It will not be possible for most tank barges to implement the
crew provisions. In fact, implementation may put individual crew members’ lives at risk. Crew quarters
may not be placed safely above a tank filled with petroleum products. Most tank barges have no space
which could be used for crew quarters because virtually all of the deck space on existing barges is above
tank space. Failing to fill some of the tanks so as to provide such void space would not be a satisfactory
solution. Empty tanks could result in serious stability problems and more casualties,

We are unaware of any proven emergency system for retrieval of a break-away barge, as provided for
101(b) of the bill, which is effective in all circumstances. We urge the Committee to continue to study this
issue and adopt only those provisions which are both feasible and consistent with protecting the safety of
the lives of those who go to sea, as well as with preventing oil spills and other casualties.

http:/ fweb.lexis-nexis.com/congcomp/document?_m=5a44d819fecc8...=128wehp=dGLbvtb-zSkSA& md5=bded6153703738cd7495679c9025d04b Page 2 of 5
ProQuest® CongressiohaAS@cdmas?-Md-02179-CJB-DPC Document 6356-5 Filed 04/25/12 Page 3 of 5 5/18/11 3:05 pm

Dredging is a major issue in many U.S. ports today, including New York. The bill as drafted is too limited
in this regard. Rhode Island is not the only state to have problems with dredging. The need for dredging
is a national problem which can be addressed, in part, by assuring that navigational charts are accurate
and up-to-date.

The same can be said of the provisions on under-keel clearances. Normally, the establishment of
minimum under-keel clearances is based on local conditions. A federal attempt to regulate this issue
would be far too unwieldy and costly. What agency on the federal level has the resources to undertake
this responsibility effectively? We know of none. We suggest that a far better use of federal efforts to
improve navigational safety will be to provide the National Oceanic and Atmospheric Administration
("NOAA") with sufficient staffing and funding so as to bring U.S. navigational charts up-to-date. This
would contribute far more to the oil spill prevention effort.

We are very troubled by the drafting of 203(b)}, which gives the federal government the right to seek
“any monies” paid out. This would appear to permit recoveries for any expenditures whatsoever,
regardless of whether they are for damages as defined in 1002 of OPA. The provisions would promote
irresponsible and unrelated expenditures and must be changed to require that only OPA defined damages
may be recovered. The purpose of proposed 205 is unclear. Near-term ecological injury is not defined in
OPA. We believe the existing statute and regulations address these issues and that this section is
unnecessary.

Section 206 would impose unworkable restrictions on the cleanup process. A response plan can never
anticipate every action which should be taken in every ecosystem. Experience has shown that each
incident and spill response is unique. The On Scene Coordinator must retain the flexibility to direct the
clean-up based on the needs in the local area. No response plan can foresee every eventuality. We urge
that 1321 of the Federal Water Pollution Control Act not be amended as proposed. Spill response is
certain to go awry if blind adherence to a pre-established plan is mandated. The flexibility permitted under
current law is more likely to permit environmentally sound spill response activities.

In its 25 years of existence, WQIS has handled thousands of ofl spills. The January spill in Rhode Island
was our first experience with an extended closure of fishing grounds. Accordingly, it was the first time
that a need for partial or interim claims payments arose. In the past, in the few spills where there has
been closure of the fishing grounds, it was only for a day or two in order to allow free access for response
vessels, As soon as it became apparent that Rhode Island lobstermen and fishermen would suffer ongoing
less of income due to the closing of the fishing grounds, a specialized team of adjusters was flown into
Narragansett and Point Judith to respond to their needs. Over $178,000 was paid out in claims payments
during the first week alone. As a result of the program established voluntarily by WQIS, over 855 interim
or partial payments now have been made.

In our experience, the NORTH CAPE spill was unique because of the number of affected lobstermen and
fishermen. Underwriters are pleased to report again on the partial claims settlement process established
in Rhode Island. immediately following the incident, our Oil Spill Claims Center was set up along with our
toll free telephone number (1- 800-995-4045). Over I 100 claims have been filed since then. Well over
half of the claims are for fish catch loss or for loss of income. A specialized team of adjusters experienced
in handling oil spill claims was flown into Rhode Island in order to respond immediately. Six to eight
adjusters have been available on a daily basis to respond to citizens' needs and to assist them in getting
together the documentation needed for their claims.

WQIS was particularly concerned about the needs of lobstermen and fishermen in view of the closure of
the fishing grounds. Claims settling offices were opened at convenient locations throughout the affected
area. In addition to the 800 number, notices were published in the local newspapers and posted in

strategic locations. Claims adjusters have conducted an extensive outreach program, visiting lobstermen

http: / /web.lexis-nexls.com/congcomp/document?_m=5a44d819fecc8...=12&wchp=dGLbVtb-zSkSA& md5=bded6 15370373 8cd7495679c9025d04b Page 3 of 5
ProQuest® Congressiohab.ieambht- Md-02179-CJB-DPC Document 6356-5 Filed 04/25/12 Page 4 0f 5 s;ag/i13:05 pm

and fishermen on the docks, as well as talking to wholesalers and others who can assist in getting the
word out that partial payments are available to alleviate problems suffered by those who have been
unable to work during the closure of the fishing grounds. Civic organizations have also been contacted
and are cooperating with us in our efforts to reach all legitimate claimants.

Because of the special needs of those directly affected by the spill and the closure, the adjusters provided
guidance on putting together documentation. A list of the kinds of decuments which assist the claims
adjusters in providing a basis for payment of a claim has been widely circulated. The National Pollution
Funds Center, in testimony before this Committee, supported our approach. We made it clear that anyone
who had trouble coming up with documents should not hesitate to call. Our adjusters are prepared to
work with any and ali claimants in an effort to put together a foundation for a claim. Our efforts to reach
out and establish communication with the lobstermen and fishermen have resulted in a substantial
number of partial claims being paid. Once a claim is documented, checks are handed to the fishermen
and lobstermen, often on the same day.

As of May 30, 1996, 855 partial or interim claims have been paid. The vast majority of these have been
partial payments to lobstermen and fishermen. Many of the claimants received their third and fourth
checks as the closure of the fishing grounds continued. Underwriters have paid over $2,500,000 in such
third-party claims. This is a remarkable achievement for a field claims adjusting office. Attorneys
representing claimants worked with our adjusters to devise a partial settlement form which met the needs
of both sides. Unfortunately, there was one out-of-state plaintiffs' attorney who waged a campaign
against the interim payments program. We believe that was an effort to increase the number of —
claimants they represented. The problem was laid to rest. as the success of the claims office became
apparent.

The experience in Rhode Island shows that the massive overhaul of OPA claims provisions is not
appropriate. The system worked in Rhode Island, but if the amendments proposed had been in effect it is
unlikely the system would have worked. The proposal would make claims handling far more unwieldy. It is
unnecessary and ill-advised to amend 1013 to require advertising about partial claims. The vast majority
of spills do not give rise to a need for partial payments. The Coast Guard has the authority to require
advertising regarding partial payments when apprcoriate.

We are particularly concerned about proposed new 1015{c)(2) (Final Damages) which would make
virtually every claims payment interim. Insurers would never be able to close the books on a spill, This
approach is counterproductive and wil! impede participation of guarantors in OPA financial responsibility
programs.

As drafted, the provisions regarding partial payments in S. 1730 would throw the claims process under
OPA into disarray. It is proposed that 1002(f) should be amended to define loss of profits and earning
capacity to include specifically partial claims. In our view, if any amendment is made, this section should
suffice. The proposed amendments to 1013, 1014 and 1015 are wholly unnecessary and create confusion.
They appear to permit partial claims in any category of damage ciaims under OPA. If enacted, the claims
settlement process would become a nightmare. Claims could never be settled. The proposed revisions to
1015 (Subrogation) appear to prohibit final settlements altogether. One of the purposes of OPA '90 was
to encourage prompt settlement and payment of claims. The net effect of the proposal would make no
settlement final, a situation no insurer can live with. The transactional costs will skyrocket and as a
consequence the cost of providing financial security will inflate. Guarantors under OPA will be precluded
from recovering for some partial! claims in actions against negligent third parties.

The program developed in Rhode Island to meet the special needs of lobstermen and fishermen could
serve as a guide in a future oil spill where the fishing grounds are closed. We believe that the NORTH
CAPE claims experience proves that the process under OPA '90 is working well. In fact, we understand
that the partial claims settlement procedures established in Rhode Island are being used as a model for

http: / /web.lexis~nexis.com/congcomp/document?_m=5a44d8 1 9fecc8...=12&wchp=dGibvtb-zSkSA& md5 =bded6153 70373 8cd7495679c9025d04b Page 4 of 5
ProQuest® Congressioha@camah)-MA-02179-CJB-DPC Document 6356-5 Filed 04/25/12 Page 5 of 5 siigii3 3:05 pm

the claims process in connection with the SEA EMPRESS spill in Wales. The unnecessary amendments
proposed would be counter- productive. The provision has been drafted without a clear understanding of
the claims process and of subrogation requirements. The "overkill" approach adopted in $.1730 could put
the entire process at risk.

The response to the need for a partial claims settlement program in Rhode Island is an example of how
industry and government can find workable solutions to new problems through cooperation. Unfortunately,
not every problem that has arisen in connection with the implementation of OPA '90 at the NORTH CAPE
spill has been resolved so successfully. American marine insurers were particularly concerned about the
delay in reopening the fishing grounds. Unnecessarily prolonging the closure of the fishing areas imposes
undue economic burdens on the lobstermen, fishermen and related industries and added costs, borne by
maritime commercial interests. Some estimated that each day of unnecessary closure costs as much as
$100,000 or more. The delay in reopening the fishing grounds was due to the inability of the various
trustees, federal and state agencies, and other bureaucracies to agree on a protocol for testing.

Underwriters were frustrated by the bureaucratic morass we have encountered in trying to open even
some of the fishing grounds, The various state and federal agencies are unable to agree on what the
acceptable criteria should be for testing to permit the reopening of the fishing grounds, Even the recent
partial reopening of the fishing grounds for fin fishing took far too long. The data showing the fishing
grounds could be reopened for fin fishing was given to state officials on February 10, who acted on
February 13. The federal government received the data on February 16, but it was not until over a month
later that the area was reopened. When potentially grave financial damages are threatened, responsible
officials should act expeditiously, but a response from federal officials on an expedited basis takes from,
at a minimum, 10 days to 4 weeks. This is unacceptable. All of those involved on the federal and state
levels must work cooperatively to expedite the reopening of a fishery when the financial implications are
so substantial. We support the changes proposed in Section 202.

AIMU and WQIS are grateful for this opportunity to present their views on S. 1730. We would be pleased
to provide any additional information which might be helpful to the Committee.

LOAD-DATE: June 4, 1996

Document 12 of 25. (2)

About ProQuest LLC | Terms and Conditions

Copyright © 2011 ProQuest LLC. All Rights Reserved.

htto://web-_lexis-nexis.com/cangcomp/document?_m=5a44d819fecc8.,.=126wehp=dGLbVib-zSkSA& md5=bded6 153 703738cd7495679c9025d04b Page 5 of 5
